Case 2:24-cv-01487-WBS-SCR Document 1-5 Filed 05/24/24 Page 1 of 3




                     Exhibit D
 Elk Grove Education Association’s BIPOC At-Large Position Proposal
     Case 2:24-cv-01487-WBS-SCR Document 1-5 Filed 05/24/24 Page 2 of 3


                              BIPOC At-Large Representative
                                 Executive Board Member
                          Presented to Rep Council March 21, 2023

Proposal: The EGEA Executive Board is putting forth a recommendation to add an additional
executive board member in order to fulfill what is currently in our bylaws to, “provide a means of
representation for its ethnic-minority members.” The primary responsibility of the BIPOC
At-Large Representative would be to address the racial equity needs of all EGEA members. In
an effort towards actionable steps to a more diverse, equitable, and inclusive union, it is the
EGEA Executive Board’s desire to have our elected decision making body reflect the
demographics of our membership through the creation of a BIPOC At-Large Representative
position.

       BIPOC At-Large Representative Responsibilities
         ●   Duties as outlined in the EGEA Bylaws
         ●   Recruitment of EGEA members and leadership committees
         ●   Check in with constituents regarding any concerns that need to be brought to
             Executive Board
         ●   Support Affinity Groups
         ●   Active member of the Equity Committee
         ●   Represent members around DEI issues
         ●   Support district and organizational efforts surrounding the recruitment and
             retention of BIPOC educators
         ●   Sit on any district committee requesting EGEA representation inclusive but not
             limited to those committees regarding diversity, equity and inclusion.

Individuals running for this Executive Board position shall be self-identified as a member of one
or more of the racial/ethnic categories of Latinos (including Puerto Ricans), African Americans,
Asian Americans, Arab and other Middle Eastern Americans, Native Americans, Native
Hawai'ians and other Pacific Islanders, and Alaska Natives.

Financial Implications: None. For the 2022-23 school year, there will continue to be two Equity
Liaison Coordinator positions. Starting in the 2023-24 school year, there will be one BIPOC
Executive Board member and one Equity Liaison Coordinator.

Rationale:
  I.  History of NEA
           A. 1857 - National Teachers Association (NTA) formed
           B. 1870 - NTA merges with smaller organizations and is renamed National
              Education Association (NEA)
           C. 1966 - NEA merges with the American Teachers Association, an all black
              association. One of the stipulations of the merger was people of color would
              always have representation.
 II.  NEA Bylaw 3.1 g
           A. It is the policy of the Association to achieve ethnic-minority delegate
              representation at least equal to the proportion of identified ethnic-minority
              populations within the state.



                                                                                                    1
        Case 2:24-cv-01487-WBS-SCR Document 1-5 Filed 05/24/24 Page 3 of 3


 III.    Bylaws
            A. NEA - “As a top decision-making, our Board of Directors includes at least one
                director from each state affiliate, as well as representatives from retired
                members, aspiring educators, at-large representatives of ethnic minorities,
                administrators, teachers in higher ed, and active members employed in ESP
                positions.
            B. CTA - The CTA Board of directors is composed of 23 teachers, 16 who are
                elected from geographically drawn districts with 10,000 or more members. In
                addition, two At-Large Directors represent ethnic minorities statewide; one
                Director represents higher education members; and one Board seat is reserved
                for California member of the Board of Directors of the National Education
                Association. The three Executive Officers bring the total to 23.
            C. EGEA - Section II Purposes E. - To provide a means of representation for its
                ethnic-minority members
 IV.     Data
            A. 29% of certificated employees in the district identify as BIPOC
            B. 21% of EGEA members identify as BIPOC
            C. 20% of EGEA Site Representatives identify as BIPOC
            D. 29% of CTA State Council Representatives identify as BIPOC
            E. 25% of EGEA Staff identify as BIPOC
            F. 10% of EGEA Executive Board members identify as BIPOC
            G. 11% of EGEA Bargaining Team identify as BIPOC

 V.      Other Locals and Large Unions
            A. The following local unions have an Ethnic Minority At-Large Representative:
                Sacramento City, Lodi, and Twin Rivers
            B. The following large unions have an Ethnic Minority At-Large Representative:
                Long Beach, San Francisco, Santa Ana, San Bernardino, Corona Norco, and
                Fresno

Next Steps:
      March 21, 2023 - Provide rationale for BIPOC Representative to Site Representatives
      April 4, 2023 - Site Representatives vote
      If approved, EGEA Bylaws and Standing Rules will need to be changed and
              reviewed by CTA before a first and second read by the EGEA representative body.
              Tentative bylaws timeline      April 18, 2023 - 1st read of Bylaw language
                                             May 2, 2023 - 2nd read of Bylaw language and vote
              Fall of 2023 - If approved, elections will take place for BIPOC Representative




                                                                                               2
